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 1 BRIAN M. BOYNTON
 2 Acting Assistant Attorney General
   Civil Division
 3 WILLIAM C. PEACHEY
 4 Director, Office of Immigration Litigation –
   District Court Section
 5 SAMUEL P. GO
 6 Assistant Director
   KATHERINE J. SHINNERS (DC 978141)
 7 Senior Litigation Counsel
 8 United States Department of Justice
   Civil Division
 9
   Office of Immigration Litigation
10 P.O. Box 868, Ben Franklin Station
11 Washington, D.C. 20044
   Tel: (202) 598-8259 | Fax: (202) 305-7000
12 katherine.j.shinners@usdoj.gov
13 DHRUMAN Y. SAMPAT
   ALEXANDER J. HALASKA
14 Trial Attorneys
15 Counsel for Defendants
16
                       UNITED STATES DISTRICT COURT
17               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
18                               (San Diego)
19 AL OTRO LADO, Inc., et al.,                  Case No. 3:17-cv-02366-BAS-KSC
20
                        Plaintiffs,             Hon. Cynthia A. Bashant
21
22                      v.                      DEFENDANTS’ NOTICE OF
23                                              ADMINISTRATIVE ACTION
   ALEJANDRO MAYORKAS, Secretary
24 of Homeland Security, et al., in their of-
25 ficial capacities,
26                            Defendants.
27
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1                       NOTICE OF ADMINISTRATIVE ACTION
2           Defendants hereby respectfully notify the Court of the following administra-
3     tive actions, as discussed at the August 31, 2021, hearing on the parties’ Motions for
4     Summary Judgment (see Tr., ECF No. 754, at 17:1-3):
5           (1) Memorandum from Troy A. Miller, Acting Commissioner, U.S. Customs
6              and Border Protection, Guidance for Management and Processing of Un-
7              documented Noncitizens at Southwest Border Land Ports of Entry (Nov.
8              1,   2021),    attached   hereto       as    Exhibit    1,   and    available    at
9              https://www.cbp.gov/document/guidance/guidance-management-and-
10             processing-undocumented-non-citizens-southwest-border-land.
11          (2) Memorandum from Alejandro N. Mayorkas, Secretary of Homeland Secu-
12             rity, Rescission of June 5, 2018, Prioritization-Based Queue Management
13             Memorandum (Nov. 1, 2021), attached hereto as Exhibit 2.
14    //
15    DATED: November 2, 2021                Respectfully submitted,
16                                           BRIAN M. BOYNTON
17                                           Acting Assistant Attorney General
                                             Civil Division
18
19                                           WILLIAM C. PEACHEY
20                                           Director

21                                           SAMUEL P. GO
22                                           Assistant Director
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                                                  1            NOTICE OF ADMINISTRATIVE ACTION
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1                                        /s/ Katherine J. Shinners
2                                        KATHERINE J. SHINNERS
                                         Senior Litigation Counsel
3                                        United States Department of Justice
4                                        Civil Division
                                         Office of Immigration Litigation
5                                        District Court Section
6                                        P.O. Box 868, Ben Franklin Station
                                         Washington, D.C. 20044
7                                        Tel: (202) 598-8259 | Fax: (202) 305-7000
8                                        katherine.j.shinners@usdoj.gov
9
                                         ALEXANDER J. HALASKA
10                                       DHRUMAN Y. SAMPAT
11                                       Trial Attorneys
12                                       Counsel for Defendants
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                                           2          NOTICE OF ADMINISTRATIVE ACTION
                                                            Case No. 3:17-cv-02366-BAS-KSC
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1                              CERTIFICATE OF SERVICE
2             Al Otro Lado v. Mayorkas, No. 17-cv-02366-BAS-KSC (S.D. Cal.)
3           I certify that I served a copy of this document on the Court and all parties by
4     filing this document with the Clerk of the Court through the CM/ECF system, which
5     will provide electronic notice and an electronic link to this document to all counsel
6     of record.
7
8     DATED: November 2, 2021                Respectfully submitted,
9
                                             /s/ Katherine J. Shinners
10                                           KATHERINE J. SHINNERS
11                                           Senior Litigation Counsel
                                             United States Department of Justice
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                                               3          NOTICE OF ADMINISTRATIVE ACTION
                                                                Case No. 3:17-cv-02366-BAS-KSC
